Case 1:09-cv-00724-DME-MEH Document 420 Filed 02/01/12 USDC Colorado Page 1 of 2



                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

   Civil Action No. 09-cv-00724-DME-MEH

   AMERICAN FAMILY MUTUAL INSURANCE COMPANY, a Wisconsin corporation,

         Plaintiff,

   v.

   DENVER HASLAM,
   COMMERCIAL CAPITAL, INC.,
   ONEWEST BANK, FSB,
   DEUTSCHE BANK NATIONAL TRUST COMPANY,

         Defendants;

   JAMES T. MARKUS, Chapter 11 Trustee for Commercial Capital Inc.,

         Interested Party;

   DENVER HASLAM,

         Counter Claimant,

   v.

   AMERICAN FAMILY MUTUAL INSURANCE COMPANY, a Wisconsin corporation,

         Counter-Defendant;

   ONEWEST BANK, FSB,
   DEUTSCHE BANK NATIONAL TRUST COMPANY, and
   FALL RIVER VILLAGE COMMUNITIES, LLC,

         Cross-Claimants,

   v.

   DENVER HASLAM,

         Cross-Claim Defendant.
Case 1:09-cv-00724-DME-MEH Document 420 Filed 02/01/12 USDC Colorado Page 2 of 2




                                          MINUTE ORDER

   Entered by Michael E. Hegarty, United States Magistrate Judge, on February 1, 2012.

           This matter comes before the Court sua sponte. Due to the filing of Plaintiff’s
   objection/appeal of this Court’s decision ordering Plaintiff and Denver Haslam to produce their
   settlement agreement under the protection of an “attorney’s eyes only” protective order, and due to
   this Court’s belief that this action cannot effectively proceed absent the District Court’s order
   resolving the issue, the Court hereby vacates the deadlines and hearings set forth in this Court’s
   January 30, 2012 order. Immediately upon the filing of the District Court’s order ruling on the
   objection/appeal, the parties shall contact my Chambers by calling 303.844.4507 to arrange a Status
   Conference at which this Court will hear any outstanding issues and reschedule the Final Pretrial
   Conference.
